Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 1 of 30




                       EXHIBIT 49
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 2 of 30
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 3 of 30
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 4 of 30
3/22/24, 11 28 AM Case 1:21-cv-02131-CJN-MAU                  Document
                                                                   nimbus102-9     Filed
                                                                          screenshot       05/17/24 Page 5 of 30
                                                                                     app print




chrome extension //bpconcjcammlapcogcnnelfmaeghhagj/edit html?pdf                                                  2/9
3/22/24, 11 28 AM Case 1:21-cv-02131-CJN-MAU                  Document
                                                                   nimbus102-9     Filed
                                                                          screenshot       05/17/24 Page 6 of 30
                                                                                     app print




chrome extension //bpconcjcammlapcogcnnelfmaeghhagj/edit html?pdf                                                  3/9
3/22/24, 11 28 AM Case 1:21-cv-02131-CJN-MAU                  Document
                                                                   nimbus102-9     Filed
                                                                          screenshot       05/17/24 Page 7 of 30
                                                                                     app print




chrome extension //bpconcjcammlapcogcnnelfmaeghhagj/edit html?pdf                                                  4/9
3/22/24, 11 28 AM Case 1:21-cv-02131-CJN-MAU                  Document
                                                                   nimbus102-9     Filed
                                                                          screenshot       05/17/24 Page 8 of 30
                                                                                     app print




chrome extension //bpconcjcammlapcogcnnelfmaeghhagj/edit html?pdf                                                  5/9
3/22/24, 11 28 AM Case 1:21-cv-02131-CJN-MAU                  Document
                                                                   nimbus102-9     Filed
                                                                          screenshot       05/17/24 Page 9 of 30
                                                                                     app print




chrome extension //bpconcjcammlapcogcnnelfmaeghhagj/edit html?pdf                                                  6/9
3/22/24, 11 28 AMCase 1:21-cv-02131-CJN-MAU                  Document 102-9
                                                                  nimbus         Filed
                                                                         screenshot      05/17/24 Page 10 of 30
                                                                                    app print




chrome extension //bpconcjcammlapcogcnnelfmaeghhagj/edit html?pdf                                                 7/9
3/22/24, 11 28 AMCase 1:21-cv-02131-CJN-MAU                  Document 102-9
                                                                  nimbus         Filed
                                                                         screenshot      05/17/24 Page 11 of 30
                                                                                    app print




chrome extension //bpconcjcammlapcogcnnelfmaeghhagj/edit html?pdf                                                 8/9
3/22/24, 11 28 AMCase 1:21-cv-02131-CJN-MAU                  Document 102-9
                                                                  nimbus         Filed
                                                                         screenshot      05/17/24 Page 12 of 30
                                                                                    app print




chrome extension //bpconcjcammlapcogcnnelfmaeghhagj/edit html?pdf                                                 9/9
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 13 of 30
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 14 of 30
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 15 of 30
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 16 of 30
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 17 of 30
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 18 of 30
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 19 of 30
       Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 20 of 30



Pro-Trump lawyer arrested on warrant after court hearing
in separate case on Dominion leaks
  abcnews.go.com/US/lawyer-election-denier-center-dominion-voting-systems-leak/story


Dominion faced baseless claims of election fraud after the 2020 election.



3:46

Dominion CEO talks settlement with Fox News

John Poulos, CEO of Dominion Voting Systems, discusses the settlement reached with Fox
News, one of...

A lawyer representing Overstock CEO Patrick Byrne in a defamation lawsuit filed by
Dominion Voting Systems was arrested after a status hearing in Washington, D.C., where
she acknowledged in court disseminating confidential documents from the voting machine
company to law enforcement.

A judge in Michigan, where Stefanie Lambert is also facing criminal charges for allegedly
tampering with voting machines, had issued an arrest warrant for the attorney. She is being
charged with being a fugitive from justice for failing to show up for a hearing on March 7,
police in Michigan said, but declined to elaborate further. The U.S. Marshals confirmed
Lambert's arrest.

According to Detroit News, her lawyer, Dan Hartman, had tried to get the warrant withdrawn
claiming that her absence was due to communication issues with her former attorney.

Lambert was the focus of a status hearing Monday in the civil case after lawyers for
Dominion requested to disqualify Lambert for allegedly violating a protective order.

The hearing is part of a lawsuit filed by Dominion against former President Donald Trump's
allies including Byrne, Rudy Giuliani, Mike Lindell, Sidney Powell and right-wing network
OAN over allegations that they pushed false conspiracy theories that the voting machine
company had helped to rig the 2020 presidential election in favor of Joe Biden. The
defendants have denied any wrongdoing.

Recent Stories from ABC News




                                                                                              1/4
     Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 21 of 30

"There was no leak of data," Lambert told ABC News in a statement. "I provided evidence of
criminal acts to law enforcement. The Dominion file contained evidence of perjury by John
Poulos, Dominion CEO, Honest Service Fraud, Wire fraud, etc. I'm on my way back to
Michigan, and I look forward to truth and transparency for everyone."

Dominion declined to comment Tuesday, but referred ABC News to a filing from the company
last week.

"Having demonstrated that she has no qualms about violating this Court's orders (or those of
any other court), Dominion cannot be in the position of entrusting Lambert with highly
sensitive, confidential information that impacts its business, and the safety of its own
employees and our nation's election workers," the filing said.

During the hearing, Lambert said she gave the confidential documents to law enforcement
"over a concern for fraud" and "criminal activity."

"It's very important that Congress and law enforcement investigate," Lambert said.

"I believe Dominion has instituted fraud with this defamation suit," she added. "There are
ongoing elections ... primaries ... local elections."




 Dominion Voting tabulator machines are shown in use for the Michigan primary election, Feb. 27, 202...
                                          Paul Sancya/AP



                                                                                                          2/4
      Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 22 of 30

During the hearing, lawyers for Dominion said Lambert and her client, Byrne, used the
documents from the lawsuit "to spread lies and cause harm."

MORE: Fox News producer felt 'coerced' to provide false testimony in
Dominion case, she says in lawsuit

According to one of the lawyers for Dominion, one of the law enforcement officials that
received the documents -- some of which were classified -- posted some of the confidential
Dominion emails on X, formerly Twitter, on Monday.




 In this July 15, 2022 file photo, Patrick Byrne, the former chief executive of Overstock.com, arrives at t...
                                          J. Scott Applewhite/AP, FILE

"They took actions intentionally and they have no intention of stopping," said an attorney for
Dominion.

Magistrate Judge Moxila Upadhyaya admonished Lambert for not seeking to challenge the
documents' designation before sharing the discovery with law enforcement.

"You then gave ... a tranche of documents that were clearly marked confidential to a third
party," said Judge Upadhyaya.




                                                                                                                 3/4
     Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 23 of 30

Upadhyaya ruled the documents be filed under seal and ordered that access to the
repository, where documents are stored online, be blocked from Lambert temporarily.




In this Aug. 2, 2022 file photo, a Dominion Voting machine is seen a the Michigan Primary Election Day...
                         Kent Nishimura/Los Angeles Times via Getty Images, FILE

Byrne was also ordered to appear at the next hearing.

Last year, Fox News agreed to pay $787.5 million to settle a defamation suit brought by
Dominion alleging the network broadcast the false claims of election fraud. Fox News denied
the claims and said the reporting was "newsworthy."

Dominion's $1.6 billion defamation lawsuit against conservative network Newsmax on similar
claims is scheduled to go to trial in late September 2024. Newsmax has said it "reported both
sides" and previously retracted some it's reporting surrounding the 2020 election as part of a
settlement after it was sued by a Dominion employee in a separate suit.


Related Topics
     2024 Elections




                                                                                                            4/4
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 24 of 30
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 25 of 30
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 26 of 30
3/22/24, 12 18 PMCase 1:21-cv-02131-CJN-MAU                  Document 102-9
                                                                  nimbus         Filed
                                                                         screenshot      05/17/24 Page 27 of 30
                                                                                    app print




chrome extension //bpconcjcammlapcogcnnelfmaeghhagj/edit html?pdf                                                 2/2
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 28 of 30
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 29 of 30
Case 1:21-cv-02131-CJN-MAU Document 102-9 Filed 05/17/24 Page 30 of 30
